                   UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                     DOCKET NO. 5:21-MC-00001

IN RE:          HONORABLE KENNETH D. BELL, PRESIDING JUDGE
                REFERRALS AND DESIGNATION OF DUTIES TO
                MAGISTRATE JUDGES IN THE WESTERN DISTRICT OF
                NORTH CAROLINA.




       THIS MATTER is before the Court on its own motion regarding the referral of

motions and the designation to perform certain duties to United States Magistrate Judges

serving in the Western District of North Carolina, either by commission or designation, in

accordance with 28 U.S.C § 636.

                             I.     CRIMINAL CASES

       REGARDING CRIMINAL CASES, IT IS ORDERED THAT pursuant to 28

U.S.C § 636 (a) and (b), and Local Criminal Rule 59.1, Magistrate Judges shall be referred

and are hereby designated to perform the following duties:

       (1)      To accept guilty pleas or conduct trials on misdemeanor and petty offenses

for which the maximum term of imprisonment is one year or less, if the defendant has

consented to proceed before a Magistrate Judge and if such consent is necessary under 28

U.S.C. § 636 or 18 U.S.C. § 3401.

       (2)      To accept tendered guilty pleas on felony offenses subject to acceptance by

the District Judge. On a case-by-case basis, and for the convenience of the parties, the

undersigned may accept guilty pleas at other times, including regularly scheduled terms

of court.

       The Magistrate Judge may make the 18, United States Code, Section
             Case 5:21-mc-00001-KDB Document 2 Filed 10/26/21 Page 1 of 6
3143, determination of release or detention after acceptance of the plea, including whether

exceptional circumstances exist under Section 3145(c). The Magistrate Judge may further

review that determination up to the day of sentencing upon the filing of any motion for

reconsideration.

       Any appeal or motion to review a Magistrate Judge’s bond determination or

conditions shall be directed to the District Judge. However, a Magistrate Judge may also

review his or her own bond determination at any time either sua sponte or upon motion for

reconsideration by either party.

       (3)      To conduct hearings pursuant to 18 U.S.C. § 3142, and 28 U.S.C. § 636(a)(2);

provided that upon notice that a party intends to file a motion for revocation of a release

order or amendment of the conditions of release, pursuant to 18 U.S.C. § 3145, any release

order shall be stayed pending disposition by the District Judge.

       (4)      To enter a final order on any other non-dispositive criminal pretrial

motions, subject only to review by the District Judge for clear error (if properly

appealed);

       (5)      To make findings of fact, conclusions of law, and to recommend disposition

of any dispositive criminal motion, excluding motions to suppress evidence, through

submission of a Memorandum and Recommendation to the District Judge. All motions to

suppress shall be directed to the District Judge; and

       (6)      To perform all other duties as authorized in Local Criminal Rule 59.1 that

are not contrary to the specific duties as set forth within this order.

       IT IS FURTHER ORDERED THAT:

        (1)     Beginning two (2) weeks prior to calendar call for any trial term (or

             Case 5:21-mc-00001-KDB Document 2 Filed 10/26/21 Page 2 of 6
peremptory setting), all trial-related motions such as motions to continue, motions in

limine, motions for issuance of subpoenas pursuant to Rule 17(b), Federal Rules of

Criminal Procedure, etc., shall be directed to the District Judge for disposition;

       (2)     With the exception of the Magistrate Judge’s authority to grant a first

presumptive continuance following arraignment, motions to continue cases from the trial

calendar shall be directed to the District Judge.

                     II.    CIVIL AND MISCELLANEOUS CASES

       REGARDING CIVIL AND MISCELLANEOUS CASES, IT IS ORDERED

THAT pursuant to 28 U.S.C § 636(b) and Local Civil Rule 72.1, in civil and

miscellaneous cases, Magistrate Judges shall be specifically referred and are hereby

designated to perform the following duties:

       (1)    To preside over pretrial conferences and issue pretrial Scheduling Orders

(and amendments to those orders) based on such conferences or the Certificate of Initial

Attorneys Conference and proposed discovery plan filed by the parties pursuant to Local

Civil Rule 16.1(b). Except as otherwise provided in this Order, it is the Court’s intent that

the Magistrate Judge will direct and manage pretrial activity and enforce the Scheduling

Order and applicable rules to the full extent set forth in Local Civil Rule 16.1;

       (2)    To hear and determine civil pretrial motions pertaining to discovery (see

generally Rules 26-37 and 45 of the Federal Rules of Civil Procedure), including but not

limited to, any motion for sanctions under Rule 37(b), motions to compel, motions for

protective orders and motions to quash, all subject to review by the District Judge for

clear error (if properly appealed).

       (3)    To hear and determine certain other non-dispositive civil motions,

         Case 5:21-mc-00001-KDB Document 2 Filed 10/26/21 Page 3 of 6
including motions for pro hac vice or special admission of counsel, motions for

withdrawal of counsel, motions to transfer to another division or district; Rule 4 motions

to enlarge time for service; Rule 6 motions for extension of time and to reopen time; Rule

12 motions to strike less than a claim; Rule 14 motions to sever or try separately; Rule 15

motions to amend and supplement; motions to stay litigation (except motions to stay

related to arbitration); motions pursuant to Rules 18, 19, and 20 concerning joinder of

claims and parties (not including Rule 19 motions to dismiss based on the failure to join a

party); Rule 21 motions concerning misjoinder; Rule 17 and 25 motions concerning

substitution of a real party in interest; requests for international judicial assistance under

28 U.S.C. § 1782(a) and all non-dispositive motions in Social Security cases. Where a

non-dispositive motion is pled in the alternative to a dispositive motion, the motion shall

not be automatically referred.

       (4)    To make findings of fact, conclusions of law, and to recommend disposition

of any motions filed for sanctions (except as ordered above); motions to remand; motions

to compel arbitration (and related motions to stay); Rule 12(b) motions (including

motions to dismiss for lack of jurisdiction over the subject matter or over the person,

improper venue, insufficiency of process or service of process and failure to state a claim

upon which relief can be granted); Rule 12(c) motions (for judgment on the pleadings)

and motions under Rule 19 for dismissal based on the failure to join a party.

       (5)    To make findings of fact, conclusions of law, and to recommend disposition

of any dispositive motion filed in a referred Social Security Appeal.

       (6)    Dispositive motions other than those listed in this Order shall not be

automatically referred to a Magistrate Judge. However, other dispositive motions may be


         Case 5:21-mc-00001-KDB Document 2 Filed 10/26/21 Page 4 of 6
referred to a Magistrate Judge for entry of a Memorandum and Recommendation on a

case-by-case basis. A Magistrate Judge is authorized to remove the referral of any non-

listed motion the Magistrate Judge determines is or has become dispositive by notifying a

Deputy Clerk and the undersigned.

       (7)    To hear bankruptcy appeals and make recommendations, if referred by the
              District Judge on a case-by-case basis;

       (8)    To enter orders involving post-judgment execution proceedings; and

       (9)    To perform all other duties as authorized in Local Civil Rule 72.1 which are

              not contrary to the specific duties as set forth within this Order.

                            III.    GENERAL PROVISIONS

              IT IS FURTHER ORDERED:

       (1)    That in all cases the undersigned retains the option, in consultation with the

referral Magistrate Judge, to refer or un-refer any motion or matter to the Magistrate Judge

for purposes of conducting a hearing and/or for entry or an appropriate order or

Memorandum and Recommendation on a case-by-case basis. The referral of a specific

motion or matter not contemplated by this Order or in a manner not consistent with this

Order will be communicated to the Clerk of Court and the parties by a separate Order of

Reference, therein authorizing the Magistrate Judge to take appropriate action;

       (2)    In cases where the parties have stipulated to the jurisdiction of the

Magistrate Judge to hear the entire case, then the Magistrate Judge shall be referred the

entire matter pursuant to 28 U.S.C. §636 and any appeal therefrom shall be to the Circuit

Court, and the undersigned shall have no further involvement therein; and

       (3)    Motions referred or cases assigned prior to the effective date of this Order


         Case 5:21-mc-00001-KDB Document 2 Filed 10/26/21 Page 5 of 6
may proceed under the previous Order of Reference under which they were previously

referred or assigned.




                                  Signed: October 26, 2021




         Case 5:21-mc-00001-KDB Document 2 Filed 10/26/21 Page 6 of 6
